                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                  CEDAR RAPIDS DIVISION
STATE OF KANSAS, et al.,

Plaintiffs,
                                                               Civil Action No. 1:24-cv-00110
v.

XAVIER BECERRA, et al.,

Defendants.

                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
        Pursuant to Federal Rule of Civil Procedure 56(a), Plaintiffs move for an Order granting

summary judgment in their favor. An attached memorandum in support of this motion, as well

as the exhibits attached thereto, explains this more fully.
        Respectfully submitted, this 3rd day of March, 2025,
                                              KRIS W. KOBACH
                                              Attorney General of Kansas

                                              /s/ James R. Rodriguez
                                              James R. Rodriguez, Kan. SC No. 29172*
                                              Assistant Attorney General
                                              Kansas Office of the Attorney General
                                              120 SW 10th Ave, 2d Fl.
                                              Topeka, Kansas 66612-1597
                                              Phone: (785) 368-8197
                                              Email: jay.rodriguez@ag.ks.gov
                                              Counsel for Plaintiff State of Kansas
 BRENNA BIRD                                 ALAN WILSON
 Attorney General of Iowa                    Attorney General of South Carolina

 /s/ Eric H. Wessan                          /s/ Joseph D. Spate
 Eric H. Wessan                              Joseph D. Spate*
 Solicitor General                           Assistant Deputy Solicitor General
 1305 E. Walnut Street                       Office of the South Carolina Attorney General
 Des Moines, Iowa 50319                      1000 Assembly Street
 Phone: (515) 823-9117                       Columbia, South Carolina 29201
 Email: Eric.Wessan@ag.iowa.gov              Phone: (803) 734-3371
 Counsel for the State of Iowa               Email: josephspate@scag.gov
                                             Counsel for the State of South Carolina

                                                 1

     Case 1:24-cv-00110-LTS-KEM           Document 118          Filed 03/03/25    Page 1 of 6
STEVE MARSHALL                             TREG TAYLOR
Alabama Attorney General                   Attorney General of Alaska

/s/ Edmund G. LaCour Jr.                   Cori M. Mills
Edmund G. LaCour Jr.*                      Deputy Attorney General of Alaska
Solicitor General                          /s/ Laura O. Russell
Office of the Attorney General             Laura O. Russell*
State of Alabama                           Alaska Bar No. 1311106
501 Washington Avenue                      Assistant Attorney General
P.O. Box 300152                            Alaska Department of Law
Montgomery, Alabama 36130-0152             1031 West 4th Avenue, Suite 200
Phone: (334) 242-7300                      Anchorage, Alaska 99501-1994
Email: Edmund.LaCour@alabamaag.gov         Phone: (907) 269-5100
Counsel for the State of Alabama           Email: laura.russell@alaska.gov
                                           Counsel for the State of Alaska

TIM GRIFFIN                                ASHLEY MOODY
Arkansas Attorney General                  Florida Attorney General

/s/ Dylan L. Jacobs                         /s/ Caleb Stephens
Dylan L. Jacobs*                           Caleb Stephens*
Deputy Solicitor General                   Assistant Solicitor General
Office of the Arkansas Attorney General    Allen Huang
323 Center Street, Suite 200               Deputy Solicitor General
Little Rock, AR 72201                      Office of the Attorney General
Phone: (501) 682-2007                      The Capitol, Pl-01
Email: Dylan.Jacobs@arkansasag.gov         Tallahassee, Florida 32399-1050
Counsel for the State of Arkansas          Phone: (850) 414-3300
                                           Email: Caleb.Stephens@myfloridalegal.com
                                           Allen.Huang@myfloridalegal.com
                                           Counsel for the State of Florida


CHRISTOPHER M. CARR                        RAÚL R. LABRADOR
Attorney General of Georgia                Attorney General of Idaho

/s/ Stephen J. Petrany                     /s/ Nathan S. Downey
Stephen J. Petrany*                        Nathan S. Downey*
Solicitor General                          David H. Leroy Fellow
Office of the Attorney General             Office of the Attorney General
40 Capitol Square, SW                      PO Box 83720
Atlanta, Georgia 30334                     Boise, Idaho 83720
Phone: (404) 458-3408                      Phone: (208) 334-2400
Email: spetrany@law.ga.gov                 Email: Nathan.Downey@ag.idaho.gov
Counsel for the State of Georgia           Counsel for the State of Idaho


                                               2

  Case 1:24-cv-00110-LTS-KEM              Document 118       Filed 03/03/25    Page 2 of 6
THEODORE E. ROKITA                         RUSSELL COLEMAN
Attorney General of Indiana                Attorney General of Kentucky

/s/ James A. Barta                         /s/ Aaron J. Silletto
James A. Barta*                            Aaron J. Silletto*
Solicitor General                          Victor B. Maddox*
Indiana Attorney General’s Office          Jeremy J. Sylvester
IGCS – 5th Floor                           Zachary M. Zimmerer
302 W. Washington St.                      Kentucky Office of the Attorney General
Indianapolis, IN 46204                     700 Capital Avenue, Suite 118
Phone: (317) 232-0709                      Frankfort, Kentucky 40601
Email: james.barta@atg.in.gov              Phone: (502) 696-5300
Counsel for the State of Indiana           Email: Victor.Maddox@ky.gov
                                           Aaron.Silletto@ky.gov
                                           Jeremy.Sylvester@ky.gov
                                           Zachary.Zimmerer@ky.gov
                                           Counsel for the Commonwealth of Kentucky

ANDREW BAILEY                              AUSTIN KNUDSEN
Attorney General of Missouri               Attorney General of Montana

/s/ Victoria S. Lowell                     /s/ Peter M. Torstensen, Jr.
Victoria S. Lowell,* 76461 MO              Peter M. Torstensen, Jr.*
Assistant Attorney General                 Deputy Solicitor General
Office of the Missouri Attorney General    Montana Department of Justice
Missouri Attorney General’s Office         215 North Sanders
815 Olive Street, Suite 200                P.O. Box 201401
St. Louis, Missouri 63101                  Helena, Montana 59620-1401
Phone: (314) 340-4792                      Phone: (406) 444.2026
Email: Victoria.lowell@ago.mo.gov          Email: peter.torstensen@mt.gov
Counsel for the State of Missouri          Counsel for the State of Montana




                                               3

  Case 1:24-cv-00110-LTS-KEM              Document 118       Filed 03/03/25   Page 3 of 6
MICHAEL T. HILGERS                        GENTNER DRUMMOND
Attorney General of Nebraska              Attorney General of Oklahoma

/s/ Zachary B. Pohlman                    /s/ Garry M. Gaskins
Zachary B. Pohlman*                       Garry M. Gaskins, II, OBA # 20212*
Assistant Solicitor General               Solicitor General
Office of the Nebraska Attorney General   Office of Attorney General
2115 State Capitol                        State of Oklahoma
Lincoln, Nebraska 68509                   313 N.E. 21st St.
Phone: (402) 471-2682                     Oklahoma City, OK 73105
Email: Zachary.Pohlman@Nebraska.gov       Phone: (405) 521-3921
Counsel for the State of Nebraska         Garry.Gaskins@oag.ok.gov
                                          Counsel for the State of Oklahoma

DREW H. WRIGLEY                           MARTY J. JACKLEY
North Dakota Attorney General             Attorney General of South Dakota

/s/ Philip Axt                            /s/ Megan Borchert
Philip Axt*                               Megan Borchert*
Solicitor General                         Assistant Attorney General
Office of Attorney General                Office of the Attorney General
600 E. Boulevard Ave Dept. 125            State of South Dakota
Bismarck, North Dakota 58505              1302 E. Hwy. 14, Suite #1
Phone: (701) 328-2210                     Pierre, South Dakota 57501
Email: pjaxt@nd.gov                       Phone: (605) 773-3215
Counsel for the State of North Dakota     Email: Megan.Borchert@state.sd.us
                                          Counsel for the State of South Dakota


SEAN D. REYES                             JASON S. MIYARES
Attorney General of Utah                  Attorney General of Virginia

/s/ Stephanie M. Saperstein               /s/ Kevin M. Gallagher
Stephanie M. Saperstein*                  Kevin M. Gallagher*
Assistant Attorney General                Principal Deputy Solicitor General
Office of Utah Attorney General           Virginia Office of the Attorney General
195 North 1950 West                       202 North 9th Street
Salt Lake City, Utah 84116                Richmond, Virginia 23219
Phone: (801) 680-7690                     Phone: (804) 786-2071
Email: stephaniesaperstein@agutah.gov     Fax: (804) 786-1991
Counsel for Plaintiff State of Utah       Email: kgallagher@oag.state.va.us
                                          Counsel for the Commonwealth of Virginia




                                             4

   Case 1:24-cv-00110-LTS-KEM           Document 118          Filed 03/03/25   Page 4 of 6
PATRICK MORRISEY
Attorney General of West Virginia

/s/ Michael R. Williams                /s/ Anna St. John
Michael R. Williams*                   Anna St. John*
Solicitor General                      Hamilton Lincoln Law Institute
Office of the Attorney General of      1629 K St. NW Suite 300
West Virginia                          Washington, DC 20006
State Capitol Complex                  (917) 327-2392
Building 1, Room E-26                  anna.stjohn@hlli.org
Charleston, WV 25301                   Counsel for Plaintiffs LeadingAge Kansas,
Phone: (304) 558-2021                  LeadingAge South Carolina, LeadingAge Iowa,
Email: michael.r.williams@wvago.gov    LeadingAge Colorado, LeadingAge Maryland,
Counsel for Plaintiff State            LeadingAge Michigan, LeadingAge Minnesota,
of West Virginia                       LeadingAge Missouri, LeadingAge Nebraska,
                                       LeadingAge New Jersey/Delaware, LeadingAge
                                       Ohio, LeadingAge Oklahoma, LeadingAge PA,
                                       South Dakota Association Of Healthcare
                                       Organizations, LeadingAge Southeast, LeadingAge
                                       Tennessee, LeadingAge Virginia, Dooley Center,
                                       Wesley Towers

*Pro Hac Vice




                                          5

   Case 1:24-cv-00110-LTS-KEM         Document 118         Filed 03/03/25   Page 5 of 6
                                    CERTIFICATE OF SERVICE


        This is to certify that on this 3rd day of March, 2025, I electronically filed the above and

foregoing document with the Clerk of the Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.


                                                /s/ James R. Rodriguez
                                                James R. Rodriguez
                                                Counsel for Plaintiff State of Kansas




                                                   6

    Case 1:24-cv-00110-LTS-KEM              Document 118        Filed 03/03/25      Page 6 of 6
